         Case 3:21-cv-00242-WBV-SDJ                  Document 110-1           11/08/21 Page 1 of 25




                               UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF LOUISIANA

ABBY OWENS, ET AL.                                             *       CIVIL ACTION NO. 3:21-cv-00242
     Plaintiffs                                                *
                                                               *
VERSUS                                                         *       JUDGE WENDY B. VITTER
                                                               *
LOUISIANA STATE UNIVERSITY, ET AL.,                            *       MAGISTRATE JUDGE
     Defendants                                                *       SCOTT D. JOHNSON
                                                               *
*          *       *        *        *       *        *        *       *        *        *       *           *   *

           FIELDON “F” KING ALEXANDER’S MEMORANDUM IN SUPPORT OF
                              MOTION TO DISMISS
              FIRST AMENDED COMPLAINT PURSUANT TO RULE 12(b)(6)

MAY IT PLEASE THE COURT:

           On June 25, 2021, the ten (10) Plaintiffs in this matter filed a First Amended Class Action

Complaint (“Amended Complaint”). 1                   In their Amended Complaint, Plaintiffs asserted

approximately thirteen causes of action against defendant, Fieldon “F” King Alexander (“Mr.

Alexander”). Specifically, Plaintiffs asserted claims for purported acts that are alleged to have

constituted Title IX Retaliation, First Amendment Retaliation, Denial of Equal Protection, Denial

of Procedural Due Process, Conspiracy to Interfere with Civil Rights, Negligence, Negligent

Supervision, Negligent Infliction of Emotional Distress, Intentional Infliction of Emotional

Distress, Bad Faith Breach of Contract, Civil Conspiracy, Louisiana Racketeering Act violations,

and Enrichment Without Cause. 2 For the reasons that follow, Plaintiffs have failed to plead any

valid claims against Mr. Alexander upon which relief can be granted. All claims should, therefore,

be dismissed with prejudice.

                                                 BACKGROUND



1
    See Record Document No. 22.
2
    See Record Document No. 22, pages 101, 104, 106, 108, 111, 116, 119, 121, 122, 123, 127, 136, and 141.
       Case 3:21-cv-00242-WBV-SDJ                   Document 110-1            11/08/21 Page 2 of 25




        The ten (10) Plaintiffs in this matter are current or former Louisiana State University

(“LSU”) students, who attended school at LSU at various points in time between the years 2013

and 2021. 3 Although the factual circumstances surrounding each Plaintiff’s enrollment at LSU,

as well as each Plaintiff’s timeline and/or chain of events are vastly different, the overall crux of

the case is the same. That is, Plaintiffs believe that they were damaged due to LSU’s alleged

failure to comply with Title IX of the Education Amendments of 1972. 4

        Title IX, however, only gives the Plaintiffs’ claims against LSU itself, as only LSU is the

recipient of federal funds. 5 As a result, Plaintiffs use the same factual allegations that support their

Title IX claims, to also bring claims against various individuals who were, or still are, employed

by LSU. Mr. Alexander, who served as Chancellor and President of LSU from July 1, 2013 to

December 31, 2019, is one such individual. 6

         Plaintiffs, however, cannot sue Mr. Alexander just because he was Chancellor and

President of LSU. A simple review of Plaintiffs’ Amended Complaint, however, reveals that is

exactly what Plaintiffs have done. Specifically, Plaintiffs’ 145-page Amended Complaint sets

forth only two factual allegations concerning Mr. Alexander’s conduct, while Mr. Alexander was

employed by LSU. The first allegation simply alleges that Mr. Alexander received a copy of a

2017 audit report generated by LSU’s Office of Internal Audit, relative to the Oversight and

Prevention of Sexual Misconduct. 7 Allegation 85 reads as follows:




3
  See Record Document No. 22, paragraph 2.
4
  See Record Document No. 22, paragraphs 1-10.
5
  Fitzgerald v. Barnstable Sch. Cmte., 555 U.S. 246, 247, 129 S. Ct. 788, 791, 172 L. Ed. 2d 582 (2009).
6
  See Record Document No. 22, paragraph 33.
7
  See Record Document No. 22, paragraph 85.


                                                   Page 2 of 25
       Case 3:21-cv-00242-WBV-SDJ                Document 110-1        11/08/21 Page 3 of 25




The second allegation simply alleges that Mr. Alexander, as President of LSU, was responsible for

ensuring that all LSU employees did their jobs. 8 Allegation 410 reads,




All other references, in the Amended Complaint, as to Mr. Alexander are nothing more than legal

conclusions or mischaracterizations of events that happened after Mr. Alexander left LSU.

Because the bareboned allegations against Mr. Alexander are woefully inadequate in terms of

supporting the legal claims set forth in the Amended Complaint, the claims against Mr. Alexander

should be dismissed. Additionally, Plaintiffs’ claims also fail for additional reasons that are

addressed in this brief.

                                        LAW AND ARGUMENT

I.      Plaintiffs Have Failed to Plead Viable Claims Against F. King Alexander.

        A.       Rule 12(b)(6) Standard for Plausibility.

        Under Federal Rule of Civil Procedure No. 8, a complaint must contain a short and plain

statement of the claim showing that the pleader is entitled to the relief. 9 A pleading that offers

“labels and conclusions” or “a formulaic recitation of the elements of a cause of action will not

do.” 10 Nor does a complaint suffice if it tenders “naked assertion[s]” devoid of “further factual

enhancement.” 11

        To survive a motion to dismiss, a complaint must contain sufficient factual matter, accepted

as true, to state a claim to relief that is plausible on its face. 12 A claim has facial plausibility when



8
  See Record Document No. 22, paragraph 410.
9
  Ashcroft v. Iqbal, 556 U.S. 662, 677 (2009).
10
   Id. at 678.
11
   Id. at 678.
12
   Id. at 678.


                                                 Page 3 of 25
       Case 3:21-cv-00242-WBV-SDJ                  Document 110-1           11/08/21 Page 4 of 25




the plaintiff pleads factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged. 13 The plausibility standard is not akin to a

“probability requirement,” but it asks for more than a sheer possibility that a defendant has acted

unlawfully. 14 Where a complaint pleads facts that are merely consistent with a defendant's

liability, it stops short of the line between possibility and plausibility of entitlement to relief. 15

        B.       Plaintiffs have Failed to Plead Facts that Plausibly Support Their Legal
                 Theories Against Mr. Alexander.

        Plaintiffs have attempted to assert thirteen (13) claims against Mr. Alexander. 16 Because,

however, Plaintiffs have failed to plead any factual content that could be used to reasonably infer

violations of the referenced laws on the part of Mr. Alexander, Plaintiffs’ complaint must be

dismissed with prejudice. Mr. Alexander’s entitlement to dismissal under each legal theory

asserted will be addressed separately.

                 1.       Title IX Retaliation

        The first claim asserted against Mr. Alexander is contained in Count V of the Amended

Complaint. 17 Due to the definition of “LSU Defendants” provided in paragraph forty-nine (49) of

the Amended Complaint, it appears this claim is asserted against Mr. Alexander in his official

capacity.

        Title IX's implementing regulations prohibit the recipient of federal funds from retaliating

against any individual who makes a complaint or participates in an investigation under Title IX. 18

To establish a prima facie case of unlawful retaliation, a plaintiff must show that: (1) she engaged

in a protected activity; (2) she suffered a material adverse action; and, (3) that a causal link exists

13
   Id. at 678.
14
   Id. at 678.
15
   Id. at 678.
16
   See Record Document No. 22, pages 101, 104, 106, 108, 111, 116, 119, 121, 122, 123, 127, 136, and 141.
17
   Record Document 22, beginning at paragraph 408.
18
   Arceneaux v. Assumption Parish Sch. Bd., 242 F. Supp. 3d 486, 495 (E.D. La. 2017).


                                                  Page 4 of 25
       Case 3:21-cv-00242-WBV-SDJ                  Document 110-1     11/08/21 Page 5 of 25




between the protected activity and the adverse action. 19 The Plaintiffs have plead no facts or acts

showing that Mr. Alexander took any adverse action against any of the Plaintiffs as a result of their

reporting of alleged Title IX violations. Plaintiffs do not allege that Mr. Alexander knew them, do

not allege that Mr. Alexander knew about their complaints, do not allege that Mr. Alexander

directed that retaliatory action be taken against them, and do not allege any retaliatory acts they

allegedly sustained on Mr. Alexander’s orders. In sum, Plaintiffs sued Mr. Alexander simply

because he was President and Chancellor of LSU. This, however, does not give rise to a Title IX

Retaliation against Mr. Alexander.

        Dismissal is warranted on additional grounds. The law is well settled in that “a plaintiff

may bring a Title IX claim for damages or injunctive relief against an institution or program

receiving federal funds, but the statute does not authorize suits against school officials, teachers or

other individuals.” 20 Because Plaintiffs cannot bring Title IX claims against individual school

officials, Plaintiffs’ Title IX claims against Mr. Alexander must be dismissed.

        If, however, Plaintiffs’ Title IX claims are allowed to proceed against Mr. Alexander, then

Mr. Alexander would be entitled to qualified immunity.              Government officials performing

discretionary functions are shielded from liability for civil damages insofar as their conduct does

not violate ‘clearly established’ statutory or constitutional rights of which a reasonable person

would have known. 21 In assessing a claim of qualified immunity, a court must determine whether:

(1) the plaintiffs have asserted a constitutional or statutory violation; (2) the law regarding the

alleged violation was clearly established at the time of the operative events; and (3) the record

shows that the violation occurred, or at least gives rise to “a genuine issue of material fact as to



19
   Id.
20
   Id. at 492;see also Barnstable Sch. Cmte., 555 U.S. at 247.
21
   Brown v. Nationsbank Corp., 188 F.3d 579, 587 (5th Cir. 1999).


                                                  Page 5 of 25
       Case 3:21-cv-00242-WBV-SDJ                   Document 110-1           11/08/21 Page 6 of 25




whether the defendant actually engaged in conduct that violated the clearly-established law.”22

This inquiry turns on the objective legal reasonableness of the action, assessed in light of the legal

rules that were clearly established at the time it was taken. 23

        Counsel is not aware of any cases finding a university’s chancellor to be in violation of

Title IX by virtue of it being the alleged responsibility of the chancellor to “set the tone” as to the

importance of Title IX, as alleged by Plaintiffs. Consequently, even if Plaintiffs’ Title IX claims

survive all the above-briefed deficiencies, Mr. Alexander is still entitled to be dismissed under the

doctrine of qualified immunity.

        Finally, Plaintiffs’ Title IX claims against Mr. Alexander are obviously prescribed. Title

VI and Title IX are subject to state statutes of limitations for personal injury actions. 24 In

Louisiana, the relevant prescription period is one year. 25 Because Plaintiffs’ Original Complaint

was filed on April 26, 2021, only claims for Title IX retaliation occurring between April 26, 2020

to present would be timely. As Plaintiffs themselves have admitted, Mr. Alexander’s employment

with LSU ended in December of 2019. 26 Consequently, Mr. Alexander could not have possibly

retaliated against LSU students from April 26, 2020 and beyond, because Mr. Alexander was not

employed or affiliated with LSU at that time.

        Consequently, for all the reasons set forth above, Plaintiffs have not, and cannot, assert a

plausible Title IX retaliation claim against Mr. Alexander. Consequently, Plaintiffs’ Title IX

Retaliation claims against Mr. Alexander must be dismissed with prejudice.

                 2.       First Amendment Retaliation




22
   Id.
23
   Pearson v. Callahan, 555 U.S. 223, 244, 129 S. Ct. 808, 172 L. Ed. 2d 565 (2009).
24
   Sewell v. Monroe City Sch. Bd., 974 F.3d 577, 583 (5th Cir. 2020)
25
   Id.
26
   See Document 22, paragraph 33.


                                                   Page 6 of 25
      Case 3:21-cv-00242-WBV-SDJ                  Document 110-1          11/08/21 Page 7 of 25




        In Count VI of the Amended Complaint, Plaintiffs bring First Amendment Retaliation

claims against Mr. Alexander. These claims fail for many of the same reasons as the Title IX

claims. To bring a First Amendment Retaliation claim, a plaintiff must prove: (1) they were

engaged in constitutionally protected activity, (2) the defendant’s actions caused them to suffer an

injury that would chill a person of ordinary firmness from continuing to engage in that activity,

and (3) the defendant’s adverse actions were substantially motivated against the plaintiffs’ exercise

of constitutionally protected conduct. 27 Courts in this jurisdiction have consistently held that

claims of mere threatening language or gestures of a state official do not, even if true, amount to

constitutional violations. 28 Citizens do not have a constitutional right to courteous treatment by

the State. 29 Verbal harassment and abusive language, while unprofessional and inexcusable, are

simply not sufficient to state a constitutional claim under 42 U.S.C. § 1983. 30

        Plaintiffs have failed to allege any retaliatory acts on the part of Mr. Alexander. Again,

Plaintiffs do not allege that Mr. Alexander knew them, do not allege that Mr. Alexander knew

about their complaints, do not allege that Mr. Alexander directed that retaliatory action be taken

against them, and do not allege any retaliatory acts they allegedly sustained on Mr. Alexander’s

orders. In fact, no Plaintiff alleges that they ever came into any contact with Mr. Alexander.

Consequently, Plaintiffs have failed to plead any facts that could plausibly support a claim that

Mr. Alexander retaliated against any of them.

        Additionally, Mr. Alexander is entitled to qualified immunity as to this claim. Counsel is

not aware of any cases finding a university’s chancellor to be in violation of the First Amendment

by virtue of the chancellor’s alleged responsibility to “set the tone” as to the importance of Title


27
   Brinsdon v. McAllen Indep. Sch. Dist., 863 F.3d 338, 351 (5th Cir. 2017).
28
   See, e.g., Norwood v. City of Hammond, 2003 WL 1090253 (E.D. La. 2003).
29
   Norwood v. City of Hammond, 2003 WL 1090253 at *2 (E.D. La. 2003) (citation omitted).
30
   Id.


                                                 Page 7 of 25
       Case 3:21-cv-00242-WBV-SDJ                   Document 110-1           11/08/21 Page 8 of 25




IX, as alleged by Plaintiffs, or resulting from the receipt of audit information concerning a

university’s Title IX office. Consequently, even if Plaintiffs’ First Amendment Retaliation claims

survive the above deficiencies, Mr. Alexander is still entitled to be dismissed under qualified

immunity.

        As to the timeliness of Plaintiffs’ First Amendment Retaliation claim, Section 1983

borrows the forum state's general personal injury limitations period. 31 In Louisiana, delictual

actions are subject to a liberative prescription period of one year. 32 Federal law, however, governs

when the cause of action accrues and dictates that the limitations period begins when the plaintiff

becomes aware that he has suffered an injury or has sufficient information to know that he has

been injured. 33

        Consequently, only First Amendment retaliation claims that accrued between April 26,

2020 to present, would be actionable. Mr. Alexander, however, left employment with LSU in

December 2019. As a result, Mr. Alexander could not have committed any retaliatory acts against

the Plaintiffs during the applicable period; nor have Plaintiffs alleged any acts on the part of Mr.

Alexander. Consequently, the First Amendment retaliation claims against Mr. Alexander should

be dismissed with prejudice.

                   3.     Denial of Equal Protection

        In Count VII of their Amended Complaint, Plaintiffs bring Equal Protection claims against

Mr. Alexander. 34 These claims fail for many of the same reasons as the claims discussed above.

The Equal Protection Clause prohibits a state from denying to any person within its jurisdiction




31
   Daggs v. Ochsner LSU Health System, 2021 WL 865412 (W.D. La. 2021).
32
   La. Civil Code article 3492.
33
   Moreau v. St. Landry Parish Fire Dist. No. 3, 413 F. Supp. 3d 550, 563 (W.D. La. 2019).
34
   See Document 22, paragraph 433.


                                                   Page 8 of 25
       Case 3:21-cv-00242-WBV-SDJ                  Document 110-1           11/08/21 Page 9 of 25




the equal protection of the laws. 35 To prevail on a claim of gender discrimination under the Equal

Protection Clause, a plaintiff must allege and prove that he received treatment different from that

received by similarly situated individuals and that the unequal treatment stemmed from a

discriminatory intent. 36 “Discriminatory intent” means that the decision maker singled out a

particular group for disparate treatment and selected his course of action at least in part for the

purpose of causing its adverse effect on an identifiable group. 37 As has been aptly summarized by

the Eastern District in the Arceneaux case:

        A plaintiff bringing a claim under Title IX or § 1983 for a violation of the Equal
        Protection Clause, may use either direct or circumstantial evidence to prove that
        she was subjected to intentional discrimination. Portis v. First Nat'l Bank of New
        Albany, Miss., 34 F.3d 325, 328 (5th Cir. 1994). “‘Direct evidence is evidence
        which, if believed, proves the fact [of intentional discrimination] without inference
        or presumption.’ ” Id. at 328–29 (quoting Brown v. E. Miss. Elec. Power Ass'n, 989
        F.2d 858, 861 (5th Cir. 1993)). “[D]irect evidence includes any statement or written
        document showing a discriminatory motive on its face.” Id. at 329 (citations
        omitted). If a “plaintiff presents direct evidence of discrimination, ‘the burden of
        proof shifts to the [defendant] to establish by a preponderance of the evidence that
        the same decision would have been made regardless of the forbidden factor.’ ”
        Etienne v. Spanish Lake Truck & Casino Plaza, L.L.C., 778 F.3d 473, 475 (5th Cir.
        2015) (quoting Brown, 989 F.2d at 861).

        When there is no direct evidence of intentional discrimination, a plaintiff must
        prove her case by inference using the McDonnel Douglas burden-shifting analysis.
        Id. at 475. First, the plaintiff must establish a prima facie case of discrimination,
        which creates a presumption that the defendant unlawfully discriminated against
        the plaintiff. Tex. Dep't of Cmty. Affairs v. Burdine, 450 U.S. 248, 101 S.Ct. 1089,
        1094, 67 L.Ed.2d 207 (1981). If the plaintiff establishes a prima facie case of
        discrimination, the burden shifts to the defendant to produce evidence of a
        legitimate, non-discriminatory reason for the adverse action. *494 Buisson v. Bd.
        of Supervisors of the La. Cmty. and Tech. Coll. Sys., 592 Fed.Appx. 237, 243 (5th
        Cir. 2014) (citing McCoy v. City of Shreveport, 492 F.3d 551, 556 (5th Cir. 2007)).
        “If the [defendant] articulates a legitimate reason for the adverse ... action, ‘the
        plaintiff then bears the ultimate burden of proving that the [defendant's] proffered
        reason is not true but instead is a pretext for the real discriminatory ... purpose.’ ”
        Id. (quoting McCoy, 492 F.3d at 556).


35
   U.S. Const. amend. XIV, § 1.
36
   Priester v. Lowndes Cnty., 354 F.3d 414, 424 (5th Cir. 2004).
37
   Arceneaux v. Assumption Parish Sch. Bd., 242 F. Supp. 3d 486, 493 (E.D. La. 2017).


                                                  Page 9 of 25
      Case 3:21-cv-00242-WBV-SDJ                 Document 110-1      11/08/21 Page 10 of 25




        To establish a prima facie case under the McDonnel Douglas framework, a plaintiff
        must demonstrate that: (1) she belongs to a protected class; (2) she met the
        defendant's qualifications for participation in the activity; (3) she suffered an
        adverse action; and (4) that others not in her protected class received more favorable
        treatment under similar circumstances. Buisson, 592 Fed.Appx. at 243 (citing
        McCoy, 492 F.3d at 556).

In this case at bar, Plaintiffs have not alleged that they were treated, in any manner whatsoever, by

Mr. Alexander. Thus, Plaintiffs have certainly failed to allege facts showing that Mr. Alexander

treated them differently than any other student or group of students. Furthermore, Plaintiffs have

failed to allege any concrete facts demonstrating that any alleged unequal treatment by Mr.

Alexander was on the basis of sex. Quite the opposite, Plaintiffs’ Amended Complaint is quite

clear in that Plaintiffs believe they were retaliated against because they reported Title IX violations,

and not because of their sex. For example, Plaintiffs have not pled that males who made Title IX

complaints were treated any better by Mr. Alexander.

        Additionally, for the same reasons set forth above as to the dismissal of the other legal

causes of action, Mr. Alexander would be entitled to qualified immunity as to Plaintiffs’ equal

protection claims. Plaintiffs have also failed to plead any offending conduct on the part of Mr.

Alexander falling within the prescriptive period.

                 4.      Procedural Due Process

        In Count VIII of their Amended Complaint, Plaintiffs bring Procedural Due Process claims

against Mr. Alexander. 38 There are three principal elements to any procedural due process claim:

the plaintiff must demonstrate that a state actor (1) deprived him (2) of life, liberty, or property (3)

without due process of law. 39 The first element limits the coverage of the Due Process Clause to

losses that arise out of coercive and culpable state conduct. 40 For example, when an individual


38
   See Document 22, paragraph 441.
39
   Woodard v. Andrus, 649 F. Supp. 2d 496, 505 (W.D. La. 2009).
40
   Id.


                                                 Page 10 of 25
      Case 3:21-cv-00242-WBV-SDJ                 Document 110-1    11/08/21 Page 11 of 25




knowingly and voluntarily relinquishes a protected interest to a state actor, there has been no

“deprivation” that might implicate the Fourteenth Amendment. 41 Similarly, a negligent act that

causes unintended injury to a person's property does not ‘deprive’ that person of property within

the meaning of the Due Process Clause. 42

         The second element goes to the object of the protections afforded by the Due Process

Clause. 43 It is only when the state deprives an individual of a “protected interest”—that is, “life,

liberty, or property”—that fair procedures are constitutionally mandated. 44

        The third element relates to the constitutionally required procedures that must attend any

deprivation of life, liberty, or property. 45 As the Supreme Court has noted, the deprivation by state

action of a constitutionally protected interest in ‘life, liberty, or property’ is not in itself

unconstitutional; what is unconstitutional is the deprivation of such an interest without due process

of law. 46 In determining whether an individual's due process rights have been violated, the courts

must therefore ask “what process is due.” 47

        Plaintiffs have failed to allege any facts showing that Mr. Alexander deprived them of

anything. Even if Mr. Alexander acted negligently (which is absolutely denied), a negligent injury

to Plaintiffs’ property would not satisfy the first element of a procedural due process claim.

Additionally, the Plaintiffs have failed to allege any liberty or property interest of which Mr.

Alexander deprived them. Finally, Plaintiffs have failed to allege or describe what process Mr.

Alexander himself was supposed to provide to Plaintiffs. Consequently, Plaintiffs have failed to

plead a procedural due process claim against Mr. Alexander.


41
   Id.
42
   Id.
43
   Woodard v. Andrus, 649 F. Supp. 2d 496, 505 (W.D. La. 2009).
44
   Id.
45
   Id.
46
   Id.
47
   Id.


                                                 Page 11 of 25
      Case 3:21-cv-00242-WBV-SDJ                Document 110-1          11/08/21 Page 12 of 25




        Additionally, for the same reasons set forth above as to the dismissal of the other legal

causes of action, Mr. Alexander would be entitled to qualified immunity as to Plaintiffs’ procedural

due process claims. Plaintiffs have also failed to plead any offending conduct on the part of Mr.

Alexander falling within the applicable one-year prescriptive period.

                5.       Conspiracy to Interfere with Civil Rights

        In Count IX of their Amended Complaint, Plaintiffs bring Conspiracy to Interfere with Civil

Rights claims against Mr. Alexander. 48 The claims are, presumably, brought under 42 U.S.C. §

1985(c). Under § 1983, conspiracy can furnish the conceptual spring for imputing liability from

one to another. 49 A conspiracy may also be used to furnish the requisite state action. 50 Yet it

remains necessary to prove an actual deprivation of a constitutional right; a conspiracy to deprive

is insufficient. 51 Without a deprivation of a constitutional right or privilege, the defendant has no

liability under § 1983. 52

        To assert a claim of conspiracy under 42 U.S.C. § 1985(3), a plaintiff must allege: (1) a

conspiracy involving two or more persons; (2) for the purpose of depriving, directly or indirectly,

a person or class of persons of the equal protection of the laws; (3) an act in furtherance of the

conspiracy; and (4) which causes injury to a person or property, or a deprivation of any right or

privilege of a citizen of the United States. 53 Thus, a plaintiff must show that the conspiracy was

motivated by class-based animus. 54 Importantly, the plaintiff must allege facts that suggest an

agreement among the alleged co-conspirators. 55


48
   See Document 22, paragraph 451.
49
   Homeowner/Contractor Consultants, Inc. v. Ascension Parish Planning and Zoning Comm’n, 32 F. Supp. 2d 384,
395 (M.D. La. 1999).
50
   Id.
51
   Id.
52
   Id.
53
   Id.
54
   Id.
55
   Body by Cook, Inc. v. State Farm Mutual Ins. Co., 869 F.3d 381, 389 (5th Cir. 2017).


                                                Page 12 of 25
         Case 3:21-cv-00242-WBV-SDJ                   Document 110-1           11/08/21 Page 13 of 25




           Plaintiffs have failed to allege any facts plausibly asserting an actual deprivation of

Plaintiffs’ constitutional rights by Mr. Alexander. Plaintiffs have also failed to allege any facts

supporting a conspiracy between Mr. Alexander and any acts in furtherance of a conspiracy by

Mr. Alexander. Nor have Plaintiffs alleged facts supporting the existence of any agreement

involving Mr. Alexander.

           Additionally, for the same reasons set forth above as to the dismissal of the other legal

causes of action, Mr. Alexander would be entitled to qualified immunity as to Plaintiffs’

conspiracy claims. Plaintiffs have also failed to plead any offending conduct on the part of Mr.

Alexander falling within the applicable one-year prescriptive period.

                    6.       Negligence

           In Count XII of their Amended Complaint, Plaintiffs bring state law negligence claims

against Mr. Alexander. 56 In order to assert a claim for negligence, a plaintiff must provide: (1)

proof that the defendant had a duty to conform his conduct to a specific standard (the duty

element); (2) proof that the defendant's conduct failed to conform to the appropriate standard (the

breach element); (3) proof that the defendant's substandard conduct was a cause-in-fact of the

plaintiff's injuries (the cause-in-fact element); (4) proof that the defendant's substandard conduct

was a legal cause of the plaintiff's injuries (the scope of liability or scope of protection element);

and (5) proof of actual damages (the damages element). 57

           In sum, Plaintiffs claim they were damaged because LSU’s response to their Title IX

complaints were allegedly inadequate. Plaintiffs, however, have not even alleged that Mr.

Alexander had any responsibility or duty in terms of receiving Plaintiffs’ Title IX complaints,

investigating Plaintiffs’ Title IX complaints, or even communicating with Plaintiffs as to their Title


56
     See Document 22, paragraph 479.
57
     McKee v. Wal-Mart Stores, Inc., 2006-1672, p. 4 (La. App. 1st Cir. 6/8/07), 964 So. 2d 1008, 1011.


                                                     Page 13 of 25
        Case 3:21-cv-00242-WBV-SDJ             Document 110-1         11/08/21 Page 14 of 25




IX complaints. In sum, Plaintiffs fail to allege that Mr. Alexander had any direct role or

responsibility as to the investigation of their individual Title IX claims. To the contrary, Plaintiffs

concede that other individuals at LSU were responsible for the individual investigations of their

Title IX complaints. Consequently, Plaintiffs have neither specified a duty owed to each individual

defendant on the part of Mr. Alexander nor any breach thereof. Plaintiffs cannot simply impute

alleged negligence in the handling of their Title IX complaints to Mr. Alexander, simply because

Mr. Alexander was Chancellor and System President during a portion of the relevant period.

           Even if Plaintiffs’ Amended Complaint is considered to have stated a cause of action for

negligence, Mr. Alexander is still entitled to dismissal pursuant to Louisiana Revised Statute

9:2798.1. The statute provides in pertinent part that:

            A. As used in this Section, “public entity” means and includes the state and any
            of its branches, departments, offices, agencies, boards, commissions,
            instrumentalities, officers, officials, employees, and political subdivisions and
            the departments, offices, agencies, boards, commissions, instrumentalities,
            officers, officials, and employees of such political subdivisions.

            B. Liability shall not be imposed on public entities or their officers or employees
            based upon the exercise or performance or the failure to exercise or perform their
            policymaking or discretionary acts when such acts are within the course and
            scope of their lawful powers and duties.
                                                   ***

Again, the only allegations asserted against Mr. Alexander, that involve acts that took place during

Mr. Alexander’s tenure at LSU, are receipt of an “audit report” 58 and failure to “set the tone” 59.

           Although the above allegations are insufficient to support a negligence claim against Mr.

Alexander, to the extent Plaintiffs are improperly attempting to infer that Mr. Alexander’s

policymaking or discretionary decisions were deficient, such acts clearly fall within the confines

of La. R.S. § 9:2798.1 and require dismissal. Plaintiffs have also failed to plead any offending


58
     See Document 22, paragraph 85.
59
     See Document 22, paragraph 410.


                                               Page 14 of 25
      Case 3:21-cv-00242-WBV-SDJ                    Document 110-1            11/08/21 Page 15 of 25




conduct on the part of Mr. Alexander falling within the applicable one-year prescriptive period for

negligence.

                  7.       Negligent Supervision

         In Count XIII of their Amended Complaint, Plaintiffs bring negligent supervision claims

against Mr. Alexander. 60 Plaintiffs refer, in part, to Louisiana Civil Code article 2030 for this

count. Article 2030, however, governs “Absolute Nullity of Contracts.” Presumably, Plaintiffs

intended to refer to Louisiana Civil Code article 2320, which is entitled “Acts of Servants, Students

or Apprentices.” Article 2320 is the primary source for vicarious liability in Louisiana, and

provides in pertinent part that:

         Masters and employers are answerable for the damage occasioned by their servants
         and overseers, in the exercise of the functions in which they are employed.

         Teachers and artisans are answerable for the damage caused by their scholars or
         apprentices, while under their superintendence.
                                                 ***

And as our jurisprudence has explained, “under article 2320, employers are answerable for the

damage caused by their employees in the exercise of the functions in which they are employed.”61

When determining whether the employer is liable for the acts of an employee, factors to be

considered are whether the tortious act was: (1) primarily employment rooted; (2) reasonably

incidental to the performance of the employee's duties; (3) occurred on the employer's premises;

and (4) occurred during hours of employment. 62

         Plaintiffs’ claims against Mr. Alexander fail as a matter of law for the simple reason that

Mr. Alexander is not the employer of any of the other individuals or entities referenced in this




60
   See Document 22, paragraph 479.
61
   Samuels v. Southern Baptist Hospital, 594 So. 2d 571, 573 (La. App. 4th Cir. 2/13/92).
62
   Id.


                                                   Page 15 of 25
        Case 3:21-cv-00242-WBV-SDJ            Document 110-1          11/08/21 Page 16 of 25




count; and Plaintiffs have not alleged Mr. Alexander to be. Consequently, Mr. Alexander cannot

be vicariously liable, under article 2320, for the acts of any other LSU employees.

           To the extent Plaintiffs construe this count as an additional negligence claim against Mr.

Alexander (note that Plaintiffs already asserted an ordinary negligence claim against Mr.

Alexander in Count XII), Mr. Alexander reiterates his response to Count XII, which is contained

above. Additionally, paragraph 492 of the Amended Complaint makes clear that Plaintiffs’

arguments are that, because there were alleged failures in LSU’s Title IX office and because the

chain of command for LSU’s Title IX office (much like every other office or department) can

ultimately be traced to the Office of Chancellor, there must have been a failure to train every

individual along every rung of the chain of command. Plaintiffs’ legal conclusions cannot be

accepted as fact. Rather, Plaintiffs should be required to plead sufficient facts demonstrating how

Mr. Alexander allegedly failed to supervise, train, or monitor employees.

           Although the above allegations are insufficient to support a negligence claim against Mr.

Alexander, to the extent Plaintiffs are improperly attempting to infer that Mr. Alexander’s

policymaking or discretionary decisions were deficient in terms resources allocated to LSU’s Title

IX department, such acts clearly fall within the confines of La. R.S. § 9:2798.1 and require

dismissal. Plaintiffs have also failed to plead any offending conduct on the part of Mr. Alexander

falling within the applicable one-year prescriptive period for negligence.

                   8.      Negligent Infliction of Emotional Distress

           In Count XIV of their Amended Complaint, Plaintiffs bring negligent infliction of

emotional distress claims against Mr. Alexander. 63           Specifically, Plaintiffs allege negligent




63
     See Document 22, paragraph 497.


                                              Page 16 of 25
      Case 3:21-cv-00242-WBV-SDJ                   Document 110-1           11/08/21 Page 17 of 25




infliction of emotional distress “in their response to reports of sexual misconduct and lack of

prevention of sex-based discrimination.” 64

        A claim for negligent infliction of emotional distress unaccompanied by physical injury is

viable under La. C.C. art. 2315. 65 A determination of liability for tort damages for mental anguish

based on La. C.C. art. 2315 requires application of the duty-risk analysis. 66 For liability to attach

under the duty-risk analysis, a plaintiff must prove five separate elements: (1) the defendant had a

duty to conform his or her conduct to a specific standard of care (the duty element); (2) the

defendant failed to conform his or her conduct to the appropriate standard (the breach of duty

element); (3) the defendant's substandard conduct was a cause-in-fact of the plaintiff's injuries (the

cause-in-fact element); (4) the defendant's substandard conduct was a legal cause of the plaintiff's

injuries (the scope of liability or scope of protection element); and (5) actual damages (the damages

element). 67 Additionally, a defendant's conduct must be outrageous or such that he knew or should

have known his conduct would cause genuine and severe mental distress as judged in light of the

effect such conduct would have on a person of ordinary sensibilities. 68

        Plaintiffs have not alleged that Mr. Alexander was responsible for receiving, investigating,

processing, or deciding their Title IX complaints. Further, Plaintiffs have not alleged Mr.

Alexander had any direct role in the administration of their individual complaints. Consequently,

Plaintiffs have failed to identify a legal duty owed by Mr. Alexander to Plaintiffs in terms of the

processing of the Title IX reports. Plaintiffs have also failed to plead any acts constituting a breach

of any such duty on the part of Mr. Alexander. Most importantly, Plaintiffs have not pled any




64
   See Document 22, paragraph 498.
65
   Holmes v. Lea, 2017-1268 (La. App. 1st Cir. 5/18/18), 250 So. 3d 1004, 1014.
66
   Id.
67
   Id.
68
   Id.


                                                  Page 17 of 25
      Case 3:21-cv-00242-WBV-SDJ                  Document 110-1    11/08/21 Page 18 of 25




“outrageous conduct” on the part of Mr. Alexander in terms of their individual Title IX complaints,

which is necessary under Lea. Consequently, Plaintiffs have failed to plead facts that could

plausibly assert a claim for negligent infliction of emotional distress against Mr. Alexander.

        To the extent Plaintiffs attempt to rely upon any policymaking or discretionary decisions

made by Mr. Alexander as to the funding or structure of LSU’s offices or departments, such acts

clearly fall within the confines of La. R.S. § 9:2798.1 and require dismissal. Plaintiffs have also

failed to plead any offending conduct on the part of Mr. Alexander falling within the applicable

one-year prescriptive period for a negligent infliction of emotional distress claim.

                 9.       Intentional Infliction of Emotional Distress

        In Count XV of their Amended Complaint, Plaintiffs bring intentional infliction of

emotional distress (“IIED”) claims against Mr. Alexander. 69          Specifically, Plaintiffs allege

intentional infliction of emotional distress against all defendants “in their response to reports of

sexual misconduct.” 70 To recover for IIED, a plaintiff must establish (1) that the conduct of the

defendant was extreme and outrageous; (2) that the emotional distress suffered by the plaintiff was

severe; and (3) that the defendant desired to inflict severe emotional distress or knew that severe

emotional distress would be certain or substantially certain to result from his conduct. 71

        Additionally, the conduct must be so outrageous in character, and so extreme in degree, as

to go beyond all possible bounds of decency, and to be regarded as atrocious and utterly intolerable

in a civilized community. 72        Liability does not extend to mere insults, indignities, threats,

annoyances, petty oppressions, or other trivialities. 73 Persons must necessarily be expected to be




69
   See Document 22, paragraph 504.
70
   See Document 22, paragraph 505.
71
   White v. Monsanto, 585 So. 2d 1205, 1209 (La. 1991).
72
   Id.
73
   Id.


                                                 Page 18 of 25
      Case 3:21-cv-00242-WBV-SDJ             Document 110-1        11/08/21 Page 19 of 25




hardened to a certain amount of rough language and to occasional acts that are definitely

inconsiderate and unkind. 74

         Plaintiffs have never alleged they ever had any interactions or dealings with Mr.

Alexander. Plaintiffs have not pled any facts demonstrating “extreme or outrageous” conduct on

the part of Mr. Alexander. Plaintiffs have not pled any facts demonstrating a desire on the part of

Mr. Alexander to inflict severe emotional distress on them. Moreover, Plaintiffs have never even

alleged that Mr. Alexander was aware of their complaints. Consequently, Plaintiffs have failed to

plead a plausible claim for IIED against Mr. Alexander.

        Considering Mr. Alexander’s position as Chancellor and System President, Mr.

Alexander’s policymaking or discretionary decisions made as to the funding, structure, or staffing

of LSU’s various offices or departments would clearly fall within the confines of La. R.S. §

9:2798.1 and require dismissal. Plaintiffs have also failed to plead any offending conduct on the

part of Mr. Alexander falling within the applicable one-year prescriptive period for an IIED claim.

                10.      Bad Faith Breach of Contract

        In Count XVI of their Amended Complaint, Plaintiffs bring claims against Mr. Alexander

for bad faith breach of contract. 75 It goes without saying that for there to be a breach of contract,

there must first be a contract. A contract is defined under Louisiana law as an agreement by two

or more parties whereby obligations are created, modified, or extinguished. 76

        In their Amended Complaint, Plaintiffs allege that LSU’s Student Code of Conduct, Title

IX Policy, Sexual Harassment Policy, and Equal Opportunity Policy constitute a contract. 77 Even

if that proposition is accepted as true, the alleged “contract” would be between LSU and its


74
   Id.
75
   See Document 22, paragraph 504.
76
   La. Civ. Code art. 1906.
77
   See Document 22, paragraph 522.


                                            Page 19 of 25
      Case 3:21-cv-00242-WBV-SDJ                Document 110-1            11/08/21 Page 20 of 25




enrolled students. The contract would not be between Mr. Alexander (or any other LSU employee)

and enrolled students. Because Plaintiffs have failed to plausibly plead the existence of a contract

between Plaintiffs and Mr. Alexander, Plaintiffs claims must be dismissed.

                11.      Civil Conspiracy

        In Count XVII of their Amended Complaint, Plaintiffs bring claims against Mr. Alexander

for civil conspiracy pursuant to La. C.C., article 2324. 78 The article provides in pertinent part that

“He who conspires with another person to commit an intentional or willful act is answerable, in

solido, with that person, for the damage caused by such act.” 79 Louisiana law does not recognize

an independent cause of action for civil conspiracy; rather, actionable element of relevant statute

is intentional tort that conspirators agreed to commit and committed in whole or in part causing

plaintiff's injury. 80 In order to prevail on a claim of civil conspiracy, a plaintiff must establish a

meeting of the minds or collusion between the parties for the purpose of committing a

wrongdoing. 81 To establish the existence of a civil conspiracy, a plaintiff must show that an

agreement existed to commit an illegal or tortious act, which act was actually committed, which

resulted in the plaintiff's injury, and there was an agreement as to the intended outcome or result.82

        Plaintiffs have failed to plead any facts plausibly supporting their claims that Mr.

Alexander agreed to commit, and in fact participated in the commission of, an intentional tort.

Plaintiffs have likewise failed to plead facts plausibly supporting the existence of an agreement or

conspiracy between Mr. Alexander and all other co-defendants, or that there was any agreement

involving Mr. Alexander as to an intent to harm Plaintiffs.




78
   See Document 22, paragraph 504.
79
   La. Civ. Code art. 2324(A).
80
   Rhyce v. Martin, 173 F. Supp. 2d 521 (E.D. La. 2001).
81
   Phillips v. Whittington, 497 F. Supp. 3d 122, 167 (W.D. La. 2020).
82
   Barbe v. Ocwen Loan Servicing, LLC, 383 F.Supp.3d 634 (E.D.La.2019).


                                                Page 20 of 25
      Case 3:21-cv-00242-WBV-SDJ             Document 110-1        11/08/21 Page 21 of 25




        Considering Mr. Alexander’s position as Chancellor and System President, Mr.

Alexander’s policymaking or discretionary decisions made as to the funding, structure, or staffing

of LSU’s various offices or departments would clearly fall within the confines of La. R.S. §

9:2798.1 and require dismissal. Plaintiffs have also failed to plead offending conduct on the part

of Mr. Alexander within the applicable one-year prescriptive period for a conspiracy claim.

                12.       Louisiana Racketeering Act

        In Count XIX of their Amended Complaint, Plaintiffs bring claims against Mr. Alexander

under the Louisiana Racketeering Act (“LRA”). 83 Plaintiffs’ Amended Complaint, however, failed

to allege any acts or conduct specific to Mr. Alexander. Plaintiffs were, therefore, required by this

Court to file a LRA Case Statement, which Plaintiffs filed on October 18th. 84 The Case Statement,

however, fails to allege facts that could plausibly assert an LRA claim against Mr. Alexander.

        First, Plaintiffs have not plausibly pled the commission of any racketing activity on the

part of Mr. Alexander. Rather Plaintiffs simply plead that Mr. Alexander committed the following

predicate acts: Public Intimidation, Intimidating Witnesses, Injuring Public Records, Maintaining

False Records, Corrupt Influencing, and Money Laundering.

        As per Louisiana Revised Statute § 14:122, public intimidation is “the use of violence,

force, extortionate threats, or true threats…with the intent to influence his conduct in relation to

his position, employment, or duty….”       Plaintiffs have not alleged any facts or acts that even

remotely imply or insinuate that Mr. Alexander used violence, force, or threats against anyone, at

any time, and for any reason. 85 For example, who did Mr. Alexander supposedly threaten?




83
   See Document 22, paragraph 553.
84
   See Document 103.
85
   See Document 103, 40-42.


                                            Page 21 of 25
     Case 3:21-cv-00242-WBV-SDJ              Document 110-1         11/08/21 Page 22 of 25




       As per Louisiana Revised Statute § 14:129.1, the statute provides, in pertinent part, that no

person shall intentionally:

       (1) Intimidate or impede, by threat of force or force, or attempt to intimidate or
       impede, by threat of force or force, a witness or a member of his immediate family
       with intent to influence his testimony, his reporting of criminal conduct, or his
       appearance at a judicial proceeding;

       (2) Injure or attempt to injure a witness in his person or property, or a member of
       his immediate family, with intent to influence his testimony, his reporting of
       criminal conduct, or his appearance at a judicial proceeding; or

Plaintiffs have not alleged any facts or acts that even remotely imply or insinuate that Mr.

Alexander used force or threatened force, against anyone. Nor have Plaintiffs alleged any facts to

support their contention that Mr. Alexander injured or attempted to injure a witness related to a

judicial proceeding. Again, Plaintiffs have never alleged they had any contact with Mr. Alexander.

       Louisiana Revised Statute § 14:132 defines the “injuring of public records” as:

       A. First degree injuring public records is the intentional removal, mutilation,
       destruction, alteration, falsification, or concealment of any record, document, or
       other thing, filed or deposited, by authority of law, in any public office or with any
       public officer.
       B. Second degree injuring public records is the intentional removal, mutilation,
       destruction, alteration, falsification, or concealment of any record, document, or
       other thing, defined as a public record pursuant to R.S. 44:1 et seq. and required to
       be preserved in any public office or by any person or public officer pursuant to R.S.
       44:36.

Plaintiffs have not alleged any facts that plausibly support the claim that Mr. Alexander

intentionally “removed, mutilated, destroyed, altered, falsified, or concealed” any record or

document.

       As to the claimed violations of La. R.S. § 14:133, the statute provides that:

       “Filing false public records is the filing or depositing for record in any public office
       or with any public official, or the maintaining as required by law, regulation, or
       rule, with knowledge of its falsity, of any of the following:
       (1) Any forged document.
       (2) Any wrongfully altered document.



                                            Page 22 of 25
      Case 3:21-cv-00242-WBV-SDJ                   Document 110-1           11/08/21 Page 23 of 25




        (3) Any document containing a false statement or false representation of a material
        fact.

Plaintiffs have not alleged that Mr. Alexander filed any records with any public office or official,

have not alleged that Mr. Alexander maintained any records, and have not alleged that Mr.

Alexander maintained or filed records that were forged, wrongfully altered, or false.

        As to Plaintiffs’ claims that Mr. Alexander was engaged in Money Laundering (La. R.S. §

14:230) and Corrupt Influencing (La. R.S. § 14:120), Plaintiffs rely upon two allegations

respectfully: “LSU, Alexander, Alleva, and other participants made available the time and space

of the Athletics Department to facilitate this Enterprise-sponsored training” and “LSU, Alexander,

Alleva, and other participants made available the time and space of the Athletics Department to

facilitate this Enterprise-sponsored training that benefitted the Enterprise. 86 The “enterprise-

sponsored training” referred to in the two allegations was an alleged “inadequate” Title IX training

allegedly paid for by TAF for the LSU Athletic Department. 87 Even if these allegations are true,

which is denied, the allegations are clearly insufficient to constitute Money Laundering or Corrupt

Influencing on the part of Mr. Alexander.

        A defendant is not civilly liable under the LRA unless that defendant has engaged in fraud

or other criminal conduct. 88 Plaintiffs have failed to plead even one fraudulent or criminal act by

Mr. Alexander. Because at least two such acts are required under La. R.S. § 15:1352(C), Plaintiffs

have failed to plead a pattern of racketeering activity on the part of Mr. Alexander.

        Considering Mr. Alexander’s position as Chancellor and System President, Mr.

Alexander’s policymaking or discretionary decisions made as to the funding, structure, or staffing




86
   See Document 103, pages 54 and 56.
87
   See Document 103, pages 54 and 56.
88
   CamSoft Data Systems, Inc. v. Southern Electronics Supply, Inc., 2019 WL 2865256 (La. App. 1st Cir. 7/2/19).


                                                  Page 23 of 25
        Case 3:21-cv-00242-WBV-SDJ           Document 110-1        11/08/21 Page 24 of 25




of LSU’s various offices or departments would clearly fall within the confines of La. R.S. §

9:2798.1 and require dismissal.

                   13.     Enrichment Without Cause

           In Count XX of their Amended Complaint, Plaintiffs bring claims against Mr. Alexander

for enrichment without cause. 89 Louisiana Civil Code article 2298 provides in pertinent part that,

“a person who has been enriched without cause at the expense of another person is bound to

compensate that person.” The term “without cause” is used in this context to exclude cases in

which the enrichment results from a valid juridical act or the law. 90 Plaintiffs have failed to plead

any facts demonstrating that Mr. Alexander was somehow enriched at the expense of Plaintiffs.

           Considering Mr. Alexander’s position as Chancellor and System President, Mr.

Alexander’s policymaking or discretionary decisions made as to the funding, structure, or staffing

of LSU’s various offices or departments would clearly fall within the confines of La. R.S. §

9:2798.1 and require dismissal. Plaintiffs have also failed to plead any offending conduct on the

part of Mr. Alexander falling within the applicable one-year prescriptive period for an unjust

enrichment claim.

II.        Amendment is Futile.

           Because Plaintiffs have already filed an original complaint, Amended Complaint, and an

LRA Case Statement, Plaintiffs have had ample opportunity to attempt to plead a cause of action

against Mr. Alexander. And because Plaintiffs can’t plead around Mr. Alexander’s time-based and

immunity-based arguments, amendment would be futile.




89
     See Document 22, paragraph 581.
90
     La. Civ. Code art. 2298.


                                            Page 24 of 25
         Case 3:21-cv-00242-WBV-SDJ                  Document 110-1      11/08/21 Page 25 of 25




                                                     Conclusion

           Plaintiffs’ Amended Complaint offers nothing more than labels, legal conclusions, and

formulaic recitations of the elements of the Plaintiffs’ legal theories. The pleading is simply devoid

of the factual allegations necessary to plausibly support a cause of action against Mr. Alexander.

A pleading that offers “labels and conclusions” or “a formulaic recitation of the elements of a

cause of action will not do.” 91 For those reasons, as well as the other reasons set forth in this

memorandum, Mr. Alexander’s motion to dismiss should be granted.

           Finally, Mr. Alexander anticipates that numerous co-defendants will be filing motions to

dismiss on the same date as this filing. Those motions will likely provide additional briefing and

argument as to the legal deficiencies in Plaintiffs’ Amended Complaint, which additional briefing

and argument is likely to be applicable to the claims asserted against Mr. Alexander. As a result,

Mr. Alexander respectfully adopts the legal arguments contained in co-defendants motions to

dismiss, to the extent the arguments are applicable to the claims asserted against Mr. Alexander.

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91
     Ashcroft v. Iqbal, 556 U.S. 662, 677 (2009).


                                                     Page 25 of 25
